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           ORDERED in the Southern District of Florida on July 24, 2023.




                                                   Laurel M. Isicoff
                                                   Chief United States Bankruptcy Judge
___________________________________________________________________________

                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    www.flsb.uscourts.gov

           IN RE:                                           CASE NO. 22-13190-BKC-LMI
           DELIA V CASTELLANOS,
                         DEBTOR(S).
                                      /


                 ORDER DENYING DEBTOR’S MOTION TO MODIFY PLAN (ECF #69)

                THIS CASE came on to be heard on July 11, 2023, for the Debtor’s
           Motion to Modify Plan (ECF #69) and based on the record, it is
                ORDERED as follows:
                1.    The Debtor’s Motion to Modify (ECF #69) and modified plan
           are denied without prejudice as a new modified plan was not filed
           by the deadline given of Friday, July 14, 2023.


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           PREPARED BY:
           NANCY K. NEIDICH, ESQUIRE, STANDING CHAPTER 13 TRUSTEE
           P.O. BOX 279806, MIRAMAR, FL 33027-9806

           JAMES ALAN POE, ESQUIRE is directed to serve a copy of this Order
           on interested parties who do not receive service by CM/ECF, and file
           a proof of such service within two (2) business days from entry of
           the Order.
